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1
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     District ofthArizona
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     Yuma, Arizona 85364
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     Telephone: 928-314-1780

5
     Robert Bruce Stirling, II
     Bar No. 006037
     Assistant Federal Public Defender
6    Attorney for Defendant
     Bruce_Stirling@fd.org
7

8                       IN THE UNITED STATES DISTRICT COURT
9                                  DISTRICT OF ARIZONA
10
     United States of America,                      No. CR- 23-00092-PHX-DLR
11
                   Plaintiff,
                                                   MOTION TO RECONSIDER
12         vs.                                     CONDITIONS OF RELEASE
13
                                                   (Honorable James F. Metcalf)
14   Roberto Lozano Partida III,
15                 Defendant.
16

17

18         The defendant, Roberto Lozano Partida, III, through counsel, respectfully asks
19
     this Court to reconsider its January 11, 2023 order denying the pretrial release of Mr.
20

21
     Partida. Said order stated, “Defendant may move to reopen or reconsider if more or

22   additional information is presented.” See, Title 18 United States Code 3142(f)(2).
23
     The Court found Mr. Partida was a “serious flight risk” due to his “a prior criminal
24

25
     history.” Defense counsel asked Pretrial Services to again interview Mr. Partida

26   regarding any drug use.
27
           Only limited information was available at the time of the detention hearing.
28
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1    Since then, Sky Owens, a California lawyer and close friend of Mr. Partida, agreed
2
     to assume third-party custody of Mr. Partida. He will ensure Mr. Partida appears at all
3
     future proceedings in Yuma and in Phoenix. Mr. Owens’s professional history,
4

5    volunteer work, public service, and deep ties to his community are set forth in Exhibit
6
     1 hereto.
7
           Additionally, since the detention hearing, Mr. Partida’s two sisters and his
8

9    brother in California were contacted. Mr. Partida’s siblings also agreed to take third-
10
     party custody of Mr. Partida. All agreed they will ensure Mr. Partida’s appearance at
11

12
     all future proceedings. All have a permanent residence and stable employment. Letters

13   from Mr. Partida’s siblings are attached hereto as Exhibits 2, 3, and 4. All exhibits are
14
     incorporated herein.
15

16
           Mr. Partida has numerous strong ties to his Los Angerles area community. He

17   was born and lived there his entire life. His siblings also live in southern California.
18
     He is confident he can obtain employment with the assistance of Mr. Owens and others.
19

20
           The Court expressed concern about Mr. Partida’s possible illegal drug use. Mr.

21   Partida denied he illegally uses drugs and stated he is willing to be drug tested “three
22
     times per day,”if needed. His willingness to do so was communicated to the U.S.
23

24   Pretrial Service Office, who asked that Mr. Partida’s request to be interviewed on the

25   subject of drug use be included herein. Sky Owens, who has known Mr. Partida well
26
     for many years, is not aware of illegal drug use by Mr. Partida. No one interviewed by
27

28   Pretrial Services knew of any drug abuse.
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1          The Pretrial Services Report mentioned two unsupported teenage arrests in 2001
2
     and 2002. It mentioned another unsupported arrest in 2008, where “No complaint” was
3
     even filed. Mr. Partida denies he was convicted of any of said offenses.
4

5          Additionally, the Pretrial Services Report does not show any conviction for the
6
     2012 case in Glendale, California. It stated the domestic violence charge, Count One,
7
     was “dismissed.” Nor was any conviction reported on Count Two (vandalism). Mr.
8

9    Partida denies he was convicted of any criminal charge. Mr. Partida stated his only
10
     criminal conviction is a misdemeanor reckless driving offense in San Bernadino,
11

12
     California in 2013.

13         The Pretrial Services Report noted Mr. Partida defaulted on a civil traffic
14
     speeding ticket in Lake Havasu, Arizona. Mr. Partida simply forgot the date of his civil
15

16
     traffic hearing. Consequently, he owes a fine. If not satisfied, said default will be

17   reported to the Arizona Department of Motor Vehicles, who will report it to California
18
     authorities. If not paid, Mr. Partida’s driver’s license will be suspended pursuant to an
19

20
     interstate agreement. Counsel herein represented a large number of interstate truckers

21   in civil traffic trials. None were ever present at trial. A large number of them won
22
     their trials without being present.
23

24         Mr. Partida has zero felony convictions. Mr. Partida is not charged with

25   possession or use of a firearm, a crime of violence, a drug offense, nor a crime for
26
     which he faces a lifetime sentence. Mr. Partida is accused of making “false statements”
27

28   and using the “identification of another person” concerning the purchase of firearms.
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1    A single misdemeanor traffic offense is not the “prior criminal history” contemplated
2
     by 18 U.S.C. §3142 justifying detention. Said misdemeanor does not support or justify
3
     a finding that Mr. Partida is a flight risk, much less a serious flight risk, nor a finding
4

5    that he is a danger to the community. A default on a civil traffic speeding ticket does
6
     not bolsters such findings. In short, the single nine-year-old traffic offense presented
7
     by the government is not evidence that he is a flight risk, nor a danger to the community.
8

9    No pending or potential identical state charges support such findings, either. The
10
     weight of the evidence is the least important factor to be considered.
11

12
             Finally, Mr. Partida intends to retain private counsel. His further detention in

13   Yuma or in Florence, Arizona, make it difficult to retain, consult, and assist defense
14
     counsel in Los Angeles, California.
15

16
             The government failed to establish sufficient facts justifying the detention of Mr.

17   Partida. The above facts and the attached exhibits demonstrate Mr. Partida is not a
18
     flight risk, much less, a serious flight risk, nor a danger to the community. Wherefore,
19

20
     Mr. Partida requests that this Court release him to the third-party custody of attorney,

21   Sky Owens, who will be present at any hearing in this matter.
22
     ....
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24   ....

25   ....
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     ....
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28   ....

     ....
         Case 2:23-cr-00092-DLR Document 13 Filed 01/31/23 Page 5 of 6



1          Alternatively, Mr. Partida asks that he be released on bail in an amount no greater
2
     than $10,000.
3
           Respectfully submitted this 31st day of January 2023.
4
                                     JON M. SANDS
5
                                     Federal Public Defender
6
                                     s/ Robert Bruce Stirling , II
7
                                     Robert Bruce Stirling, II
8                                    Assistant Federal Public Defender
9

10   Copy of the foregoing transmitted
11
     by ECF for filing January 31, 2023, to:

12   CLERK’S OFFICE
13
     United States District Court

14   John Ballos
15
     Assistant U.S. Attorney

16   U.S. Pretrial Services
17
     Copy mailed to:
18   Defendant
19
     L. Aguilera
     L. Aguilera
20

21

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1
                              EXHIBIT 1
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